 Case: 1:17-md-02804-DAP Doc #: 1749-4 Filed: 06/28/19 1 of 4. PageID #: 51829




                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



 IN RE NATIONAL PRESCRIPTION OPIATE                    MDL No. 2804
 LITIGATION
 This document relates to:
                                                       Case No. 17-md-2804
 Track One Cases


                                                       Hon. Dan Aaron Polster




                           DECLARATION OF STEVEN A. REED

       Pursuant to 28 U.S.C. § 1746, I, Steven A. Reed, hereby declare as follows:

       1.      I am a partner in the Philadelphia, Pennsylvania office of Morgan, Lewis & Bockius

LLP, counsel for Defendants Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc. f/k/a

Watson Pharma, Inc., Warner Chilcott Company, LLC, Actavis South Atlantic LLC, Actavis

Elizabeth LLC, Actavis Mid Atlantic LLC, Actavis Totowa LLC, Actavis Kadian LLC, Actavis

Laboratories UT, Inc. f/k/a Watson Laboratories, Inc.-Salt Lake City, and Actavis Laboratories

FL, Inc., f/k/a Watson Laboratories, Inc.-Florida (collectively, the “Actavis Generic Defendants”),

and Teva Pharmaceuticals USA, Inc. (“Teva USA”).

       2.      I submit this declaration in support of the Generic Manufacturers’ Motion For

Partial Summary Judgment for the purpose of transmitting to the Court true and correct copies of

the documents attached hereto.

       3.      Attached as Exhibit 1 is a true and correct copy of excerpts from the May 4, 2019

deposition of Plaintiffs’ expert Dr. Meredith Rosenthal.
 Case: 1:17-md-02804-DAP Doc #: 1749-4 Filed: 06/28/19 2 of 4. PageID #: 51830




       4.       Attached as Exhibit 2 is a true and correct copy of the Food and Drug

Administration’s (“FDA”) article titled “Generic Drugs Undergo Rigorous FDA Scrutiny,”

available at https://www.fda.gov/consumers/ consumer-updates/generic-drugs-undergo-rigorous-

fda-scrutiny.

       5.       Attached as Exhibit 3 is a true and correct copy of the Federal Trade Commission’s

(“FTC”) August 2011 Report by Karen A. Goldman et. al, titled “Authorized Generic Drugs:

Short-Term Effects and Long-Term Impact.”

       6.       Attached as Exhibit 4 is a true and correct copy of the Declaration of David Myers

dated June 25, 2019.

       7.       Attached as Exhibit 5 is a true and correct copy of excerpts from the January 17,

2019 deposition of Douglas Boothe.

       8.       Attached as Exhibit 6 is a true and correct copy of excerpts from the December 18,

2018 deposition of Michael Perfetto.

       9.       Attached as Exhibit 7 is a true and correct copy of excerpts from the December 13,

2018 deposition of David Myers.

       10.      Attached as Exhibit 8 is a true and correct copy of excerpts from the January 19,

2019 deposition of Jinping McCormick.

       11.      Attached as Exhibit 9 is a true and correct copy of excerpts from the January 15,

2019 deposition of Andrew Boyer.

       12.      Attached as Exhibit 10 is a true and correct copy of excerpts from the January 24,

2019 deposition of Christine Baeder.

       13.      Attached as Exhibit 11 is a true and correct copy of excerpts from the November

16, 2018 deposition of John Hassler.




                                               -2-
 Case: 1:17-md-02804-DAP Doc #: 1749-4 Filed: 06/28/19 3 of 4. PageID #: 51831




         14.   Attached as Exhibit 12 is a true and correct copy of the Declaration of Christine

Baeder dated June 25, 2019.

         15.   Attached as Exhibit 13 is a true and correct copy of excerpts from the April 24,

2019 deposition of Matthew Perri.

         16.   Attached as Exhibit 14 is a true and correct copy of excerpts from the May 10, 2019

expert report of Dr. Edward Michna.

         17.   Attached as Exhibit 15 is a true and correct copy of excerpts from the May 10, 2019

expert report of Dr. Pradeep Chintagunta.

         18.   Attached as Exhibit 16 is a true and correct copy of excerpts from the May 10, 2019

expert report of Dr. Sean Nicholson.

         19.   Attached as Exhibit 17 is a true and correct copy of excerpts from the May 10, 2019

expert report of Dr. Melanie Rosenblatt.

         20.   Attached as Exhibit 18 is a true and correct copy of excerpts from the December 5,

2018 deposition of Kevin Vorderstrasse.

         21.   Attached as Exhibit 19 is a true and correct copy of excerpts from the January 8,

2019 deposition of Ginger Collier.

         22.   Attached as Exhibit 20 is a true and correct copy of excerpts from the January 10,

2019 deposition of Lisa Cardetti.

         23.   Attached as Exhibit 21 is a true and correct copy of the FDA article title “Generic

Drugs:     Questions & Answers,” available at https://www.fda.gov/drugs/questions-answers/

generic-drugs-questions-answers

         24.   Attached as Exhibit 22 is a true and correct copy of the Supplemental Written

Responses and Objection of Defendants’ Par Pharmaceutical, Inc. And Par Pharmaceutical




                                              -3-
 Case: 1:17-md-02804-DAP Doc #: 1749-4 Filed: 06/28/19 4 of 4. PageID #: 51832




Companies, Inc. To Plaintiffs’ Amended Notice Of Deposition Pursuant To Rule 30(B)(6) Nos. 4,

6-10, 13-16, 18, 22, 23, 37 and 39.

       25.     Attached as Exhibit 23 is a true and correct copy of excerpts from the February 15,

2019 deposition of George Stevenson.

       26.     I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge, information, and belief.



Executed on this 27th day of June 2019.

                                                     /s/ Steven A. Reed
                                                     Steven A. Reed
                                                     MORGAN, LEWIS & BOCKIUS LLP
                                                     1701 Market St.
                                                     Philadelphia, PA 19103-2921
                                                     Tel: (215) 963-5000
                                                     steven.reed@morganlewis.com




                                               -4-
